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§ase 8:16-cV-00009-DF|\/| Document 20-2 Filed 02/24/16 Page 1 of 44 Page |D #:226

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Attorneys for Defendants
QUALITY SYSTEMS, INC. and NEXTGEN
HEALTHCARE INFORMATION SYSTEMS, LLC

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

TRACI WOLBERT, ) CASE NO.: SACV16-00009 (JLSX)
)
Plaintiff, )
) DECLARATION OF ANDREW D.
Vs. ) LA FIURA IN SUPPORT OF
) DEFENDANTS’ MOTION TO
QUALITY SYSTEl\/IS, INC. NEXTGEN ) TRANSFER VENUE
HEALTHCARE INFORMATION )
SYSTEMS, and DOES l through lO, ) Cornplaint Filed: Decernber 3, 20l5
INCLUSIVE, ) Trial Date: None Set
)
Defendants. )
l

 

I, Andrew D. La Fiura, being duly sworn, declare and state as follows:

l. l am one of attorneys representing Defendants Quality Systerns, Inc. (“QSI”)
and NeXtGen Healthcare Inforrnation Systerns, LLC (“NeXtGen”) in this matter. I submit
this declaration in support of Defendants’ Motion to Transfer Venue. The following is

based on my personal l<nowledge, and my knowledge based on my review of and

 

 

 

Case NO.: 8:16-CV-00009 l LA FIURA DECLARATION IN
SUPPORT OF VENUE TRANSFER

 

 

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familiarity with the pleadings, orders, and correspondence relating to the above-captioned
matter. lf called as a Witness, l could and would competently testify to the facts
contained herein.

2. Attached as Exhibit 1 is a true and accurate copy of the Declaration of Traci
Wolbert, which was submitted in Plaintiff in connection with Case No. 8:15-cv-00550.

3. Attached as Exhibit 2 is a true and accurate copy of Plaintiff s
Confidentiality Agreement.

4. Attached as EXhibit 3 is a true and accurate copy of the Declaration of Steve
Pucl<ett, which was submitted in connection With Case No. 8:15-cv-00550.

5. Attached as Exhibit 4 are excerpts from the February 17, 2015 investigation
report of Matthias Wagener.

6. Attached as Exhibit 5 is a true and accurate copy of the Declaration of Jane
Kurcon, which was submitted in connection with Case No. 8:15-cv-00550.

7. Attached as Exhibit 6 is a true and accurate copy of the Affidavit of Ben
l\/Iehling.

8. Attached as EXhibit 7 are true and accurate copies of tables reflecting the
case loads of the Central District of California and the Eastern District of Pennsylvania
and an explanation of terms, which were accessed on February 23, 2016 through the
United States Courts website at http://www.uscourts.gov/statistics/table/na/federal-court-

management-statistics/2015/06/3 0-3.

 

1 swear under penalty of perjury and the laws of the United States and California
that the foregoing is true and correct to the best of my knowledge and belief.

Sworn to this 23rd day of Febru , 2016, at Philadelphia, Pennsylvania.

 

And@w D. La Fiura

4815-3510-0462, v. 1

 

 

Case No.: 8:16-CV-00009 2 LA FIURA DECLARATION IN
SUPPORT OF VENUE TRANSFER

 

 

 

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Exhibit 1

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14 UNITED STATES DISTRICT COURT
15 CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
16
17 ) Case No. CV-8:15-cV-00550-JLS-

) RNB
18 ) .
19 TRACI WOLBERT, ) [Assigned to the Hon. Josephine L.
_ ) Staton, Courtroom 10A; Magistrate
20 Plaintiff, ) ludge Robert N. Block, Courtroom
21 ) 6D]
22 vs. )

) DECLARATION OF TRACI
23 QUALITY SYSTEMS, INC., ) WOLBERT IN SUPPORT OF
24 NEXTGEN HEALTHCARE ) PLAINTIFF’S MEMORANDUM OF

INFORMATION SYSTEMS, and ) POINTS AND AUTHORITIES IN

25 DoEs i through 10, iNCLUsIvE. ) oPPosrrioN To DEFENDANTS’
26 ) MOTION TO TRANSFER VENUE
27 Defendants. )

) DATE: November 13, 2015
23 ) TIME: 2:30 p.m.

) CRTRM: 10A

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1

 

 

 

 

Case CV~S: 15-cv-00550-JLS-RNB DECLARATION OF TRACI WOLBERT

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Case 81

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1_5-.CV-00550-JLS-RNB DOCL|ment 27-2 Filed 10/23/15 Page 2 Of 12 Page lD #1202

1, TRACI WOLBERT, hereby declare and state as follows:

1. _ 1 am a party to this action. 1 have personal knowledge of the facts
below, and if called and sworn as a witness herein, 1 could and would testify
competently to such facts

2. 1n 2002, when 1 was hired by NeXtGen, 1 lived in Long Beach,
California. Thereafter, 1 moved to Santa Ana, Califomia, which was near the
NeXtGen headquarters 1 remained in California until 2007.

3. 1 started working with NextGen’s sales team on June 3, 2002 and was
assigned to the Southern California region. At the time of my hire, 1 signed an
employment contract, a copy of which is attached hereto as EXhibit A. 1 was living
in California when 1 signed the Employment Contract.

4. At the time of my hire 1 also signed an Employee Confidential
lnformation Agreement, a copy of which is attached hereto as Exhibit B. 1 was
living in California when 1 signed the Employee Confidential lnformation
Agreement.

5. 1 do not remember signing additional agreements governing the terms
of my employment during my employment with NeXtGen.

6. From 2002 to 2007, while 1 lived in California, 1 was treated as a
remote employee and worked from home. During this period, 1 worked with
clients in California.

7. Eight years ago, 1 moved to Pennsylvania As was the case when 1
was located in California,‘ 1 was considered a “remote” employee and primarily
worked out of my house. Even after relocating, 1 continued to work with clients in
California. 1 also traveled to California to meet with and service clients

- 8. Several years ago, QSI consolidated regional Human Resources

offices into a single unit located in Irvine. To the best of my knowledge, no HR '

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Case CV-S:lS-cv-00550-1LS~RNB DECLARATION OF TRACI WOLBERT

 

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Case 8:15-cv~00550~JLS-RNB Document 27-2 Flled 10/23/15 Page 3 of 12 Page ID #:203

1 documents, nor any documentation related to my complaint, the resultant

2 investigation nor my termination are held in Horsham. l '
3 9. 1 believe Sheldon Razin, Chairman of the QS1’s Board of Directors,
“ lives in california _
5 10. l believe l\/lattias Wagener, the independent investigator hired by QSl
6 to investigate my harassment complaints, lives in California. His investigation was
7 conducted from California, where 1 met with him to discuss my complaints on .
: November 6, 2014.
10 l 1. l traveled to Calit`ornia to meet with Mattias Wagener. 1 was
11 accompanied to this meeting by my lawyer, Ronald Greenblatt. Pat Pierce did not

12 travel to California for this meeting

13 y 12. To date l regularly travel to California for work and to visit with

1a friends and family who live primarily in lrvine, California.

15 13. l am prepared to travel to California to participate in depositions, trial,
16 and any other event that may require my attendance

17 l declare under penalty of perjury under the laws of the State of

18 Pennsylvania that the foregoing is true and correct and that this declaration was

19 executed m Philadelphia Pennsylvania, on October 22, 2015

20 C_`/ »\( tin jl LWQCW

21
Traci Wolbert

 

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Case CV-S:l 5~cV-00550-JLS-RNB DECLARATION OF TRACl WOLBERT

 

 

 

 

 

 

 

 

 

Case 8:16-cV-00009-DF|\/| Document 20-2 Filed 02/24/16 Page 7 of 44 Page |D #:232
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L

May 29, 2002

Ms. Traci L. Wolbert
43 Ximeno Avenue #l
Long Beach, CA 90803

Dear Ms. Wolber.t:

’l`he NextGen Healthcare division of Quality Systems, lnc. is pleased to offer you the full-time position
of Salee Representative. The specifics of our oii'er are set forth below:

 

Starting Salaiy. $55,000.00 per annum
Starting Dgte: June 10, 2002
Commission: in accordance with FY2003 Commission Plan attached;

commissions to be paid in accordance with Company’s then
current commission policy.

Car Allowance: $300.00 per month, plus 12 cents per business mile.
Vawtion Days: ' You are entitled to accrue 80 hours vacation (2 weeks) at the rate

of 6.66 hours/month during your first year with the Company.
Alter one year with the company, you will be eligible for two
weeks vacation to be taken in accordance with existing company

policy.

Standard Benetits:_ On your first day ofwork, you will be provided with access to the
' electronic version of the Employee Procedure Ma.nual, which
outlines the standard benefits and additional terms and conditions
that will be applicable to your employment with Company.

To formally indicate your acceptance of our oh`er, please sign and date a copy of this letter and return
it, along with the executed Confidentiality Agreement, to my attention After first calling the number
listed below, please also f‘ax an executed copy to Patti Christiansen’s attention at 215-657~2986.

We are convinced that an association between you and Company will be mutually rewarding, and we
look forward to working with you. Ifl can be of further assistance please do not hesitate to contact

me at 215-657-7010.

Sincerely, - I have read the above letter and
accept Company’s offer on the
terms stated therein.

Bob Ellis

EVP, Operations & Le'gal

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EXHlSBlT A

Case 8:16-cV-00009¢DF|\/| Document 20-2 Filed 02/24/16 Page 9 of 44 Page |D #:234
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EXH|B}T A

 

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EXhibit 2

QUALITY SYSTEMS, INC.
EMPLOYEE CONFIDENTIAL INFORMATION AGRBEMENT

'l'HIS CONFIDBNTIAL INFORMATION AGREEMBNT (tlle "Agt'eement") is entered into by
and between QUALlTY SYS'I`BMS, INC., for and on behalf of itself and its present and future affiliates and/or
subsidiaries including but not limited tc MicroMed Henlthcare Infcrmation Systcms, Inc. and Clinitec Intematicnal,
Inc. (collectively referred to as “QSI"), and the undersigned ("Bmployce"), to be effective as of the first date of
employment of Bmployee. In consideration of the foregoing and the mutual covenants and agreements contained in
this Agreement, and specifically in consideration of Bmployee's continued employment or initial employment by
QSI, whichever is applicable, QSI and Bmployee covenant and agree as followst

Contldential Int`ormatlon. Emplcyee may acquire
Conddentlal brformatlcn of QSI, its customers or
prospective customers, and their patients Ernployee
agrees to keep contidentlal, and not to disclose or
make any use of except for the benefit of QSI, at
any time, either during or subsequent to his/her
employment, any trade secrets, confidential
information, knowledgc, data or other information
of QSI relating to its products, software,
formulations, computer programs and associated
dooumentation, cost and price caiculations,
suppliers, customers, potential customers,
processes, know»how. designs, formulas, test data,
employee information, customer lists. business
plans, marketing plans and strategies, pricing
strategies or other subject matter pertaining to any
business of QSI or any of its customers, prospective
customers, consultants, licensees or affdlates, which
Employee may produce, obtain or otherwise acquire
during the course of his/her employment Bmployee
further agrees not to dellver, reproduce or in any
way allow any such trade secrets, confidential
information knowledge, data or other information,
or any documentation relating thereto, to he
delivered or used by any third parties without
specific direction or consent of a duly authorized
representative of QSl.

Confticting Employment. Empioyee agrees that
during his/her employment with QSI, Bmployee will
not engage in any other employment, occupation,
' consulting or other activity relating to the business
in which QSl is now or may hereafter become
engaged (while Employee is employed at QSI) or
which would otherwise conflict with Employee’s
obligations to QSl.

Return oi‘ DccumcntslMaterials. ln the event of
termination of employment with QSI for any reason
whatsoever, Employee agrees to promptly surrender
and deliver to QSI all records, materiais, equipment,
drawings, documents and data of any nature
pertaining to his/her employment with QSI.

Callt`omia

Customers. During the period of his/her
employment, and for one (l) year after that
employment terminates for any reason, the Employee
shall not, directly or indirectly, make known to any
person, firm, or corporation the names or addresses
of any of the customers or potential customers of QSI
cr any other information pertaining to them, or call
on, sollclt, take nway, or attempt to call cn, sciicit, or
take away any of the customers or potential
customers of QSI, either for himself/herself or for
any other pcrson, timi, or corporation For purposes
of this agreement, “potential customers” are
companies and/or their representatives that have been
contacted by QSI for the purpose of making a sale of
any of its products or services within the one (l) year
period preceding the cessation of the Employec’s
employment at QSI. Employee acknowledges and
agrees that any such solicitation, inducement, or
interference would be wrongful and would constitute
a misuse or misappropriation of QSl’s Coniidcntial
]nformation described herein and would cause
inoperable and incalculablc harm to QSl. Employee
acknowledges and agrees that such restrictions ar

fair and reasonablen '

Emplcyees. Bmployee acknowledges and agrees that
QSI's employees and its information about employees
constitute a valuable asset and Confidential
lnfcnnaticn of QSL Employee agrees that he/she
will not, during his/her employment by QSI and for a
period of one (l) year after that employment
terminates for any reason, directly or indirectly, for
himself/herself or on behalf of any other person or
entity, raid or solicit any of QSl’s employees for a
competing business or otherwise induce or attempt to
induce any such employees to terminate their
employment with QSI or to otherwise disrupt or
interfere or attempt to disrupt or interfere with QSI's
relationships with such employees Employee
acknowledges and agrees that any such solicitation
inducement or interference would be wrongful and
would constitute unfair competition and would cause
irreparable and incalculable harm to QSI, Employee

Case 8:16-cV-00009-DF|\/| Document 20-2 Filed 02/24/16 Page 17 of 44 Page |D #:242

acknowledges and agrees that such restrictions arc
fair and reasonablel

Emplcyee Wcrlts. Bmployee hereby assigns to QSI
all right, title and interest in any and all inventions,
ideas and works of authorship created by Bmployee
using QSI’s resources, during Bmployec‘s work hours
or related to any product, servicc, ldea, invention or
technology created or used by QSI (“Employco
Works"), including all worldwide copyrights, trade
secrets, and all patent, proprietary and property rights
therein Hmploycc agrees to execute, without further
consideration such assignments, instruments and
documents as QSI deems necessary cr desirable in
order to effect the assignment of the Bmployee
Works.

At will employment Employee represents and
warrants that Bmployee's execution of and
performance of this Agreement will not violate or
impair any other obligations of Empioyee, whether
under an employment or consulting agreement or
otherwise It is expressly understood and agreed that
Employee‘s employment by QSI is at will and that
either party to the employment relationship, may
terminate it and this Agreement at any tirno, with or
without reason, with or without cause. Bmployse
further understands and agrees that this at will
employment relationship can only be changed by a
writing signed by-the Ernployee and the President of
QSI.

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Miscellaneous. ln the event that any paragraph or
provision of this Agrccment shall be held to bc
illegal or unenforceable in any jurisdiction, such
paragraph or provision shall, as to that jurisdiction,
he adjusted and reformcd, if possible, in order to
achieve the intent of the psrties, and if such
paragraph or provision cannot he adjusted and
rcformed, such paragraph or provision shall, for the
purposes of that jurisdiction be voided and severed
from this Agreement, and the entire Agreement shall
not fail on account thereof but shall otherwise
remain in full force and effect QSI and the
Employee agree that the validity, interpretation,
construction, and performance of this Agreement
shall be governed by the laws of the State of
Caiifornia, without giving effect to conflict of laws or
choice of law principles

In Witness Whereot`, the parties have executed this-Agreemeut the ‘:_ day ot\:§M '€/ , 2002 'I`he undersigned
employee also acknowledges that consideration in such form as a job offer, salary review, or implementation ot` a

bonus or commission plan has been given end accepted

C>Q<lcvso‘ ett/O@/er'/l“

Employee

Calli`omia

 

Quality Systems, Inc.

 

Title

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EXhibit 3

Case 8:16-cV-00009-DF|\/| Document 20-2 Filed 02/24/16 Page 20 of 44 Page |D #:245

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I`ase 8:15-cv-00550~JLS~RNB Document 24-3 Filed 09/18/15 Page 1 of 5 Page |D #1164

Andrew D. La Fiura (Pennsylvania SBN. 307891)
JACKSON LEWIS P.C.

‘ Three Parkwa

1601 Cherry treet, Suite 1350

Philadel hia Penns 1Vania19102-131'7

Tel: 2 7 §19~78 2 _

FaX: 215 399-2249 _
E-mai : andrew.laflura@iacksonlewls.com

Jared L. Bryan (SBN. 220925§

Vandana KaL}/)ul\')\$SBN. 28177 )

JACKSON E IS P:C.

5000 Birch Street Sulte 5000

Newport Beach, California 92660

Tel: 949 885~1360

Fax: 949 885~1380

Email: Jared,Brvan@jac_kson1ewis.<_:0rn
vandana.l<apur@]acksonlewls.com

Attome s for Defendants
UALI Y SYSTEMS, TNC. and NEXTGEN HEALTHCARE INFORMATION
S STEMS, LLC
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA - S()UTHERN DIVISION

TRACI WOLBERT, CASE NO. CV-8:15-cV-00550-JLS-RNB
Plaintiff, Assigned to the Hon. Josephine L. Staton,
ourtroom 10A ; Magistrate Judge Robert
vS. N. Block, Courtroom 6D]
UALITY SYSTEMS, INC. NEXTGEN DECLARATION OF STEVE
EALTHCARE INFORMATION PUCKETT
SYSTEMS, and DOES 1 through 10,
INCLUSIVE, [Fz'led concurrently with Notz'ce OfMotz'on

and Motion, Memorandum ofPoznz‘s and
Authoritl`es in Support, Declaratz'ons in

Defendants. Support, and [Proposea'] Ora’er]
Date: October 23, 2015
Time: 2:30 p.m.

Courtroom: 1 0A

Complaint Filed: April 8, 2015
FAC Filed: May 4, 2015

 

I, Steve Puckett, being duly Sworn, States as follows:

 

 

 

CV~S: 15-CV~00550-JLS-RNB 1 DECLARATION OF STEVE PUCKETT

 

 

 

 

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Case 8:16-cV-00009-DF|\/| Document 20-2 Filed 02/24/16 Page 21 of 44 Page |D #:246
Z`ase 8:15-cv-00550-JLS~RNB Dooument 24-3 Filed 09/18/15 Page 2 of 5 Page |D #:165

1. 1 am currently employed as Executive Vice President and Chief Technical
Offlcer (“CTG”) of Quality Systems Inc. (“QSI”). 1 started my employment with QSI in
2009 and have been in my current position since 2012.

2. 1 have been a resident of the state of Florida since 2007.

3. 1 do not own property nor have 1 ever resided anywhere in California.

4. 1 am familiar with a former employee named Traci Wolbert.

5. From July 2013 through October 2014, Ms. Wolbert reported to me in her
capacity as Director of Clinical Proigrams.

6. Ms. Wolbert and 1 did not work in the same location.

 

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7. More particularly, 1 work between QSI’s offices in 1rvine, California,

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Horsham, Pennsylvania, my home in Orlando, Florida and Defendants’ other locations

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around the country. 1n contrast, Plaintiff worked mainly from her horne in Philadelphia,

p_a
b.)

Pennsylvania On occasion, Ms. Wolbert would also work from QSI’s Horsham,

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Pennsylvania location, which is where she maintained her office.

 

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8. As a result, virtually all of my communications with l\/ls. Wolbert were done

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over email, text message and telephone

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9. In fact? to the best of my recollection, Ms. Wolbert and 1 were in the same

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physical location less than 20 times during her employment With Defendants.

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10. The vast majority of these occurrences were in Pennsylvania, in particular in
Philadelphia or at Defendant NeXtGen’s Horsham location Plaintiff and 1 never worked
or were otherwise together in California.

11. On October l, 2014, While at a conference in Chicago, Illinois, 1 was

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approached by Dr. Robert Murry, a physician who works part-time for QSI, and Alicia

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Carden, a member of Ms. Wolbert’s team. Both individuals expressed concern to me
about Ms. Wolbert’s performance and requested that she be removed from the KBM
proj ect.

12. On October 10, 2014,.D0nna Greene and 1 had a telephone conversation

with Plaintiff to advise her that she was being transferred from the

 

 

 

CV-S! 1 5-CV~00550-JLS-RNB 2 DECLARATION OF STEVE PUCKE'IT

 

 

 

Case 8:16-cV-00009-DF|\/| Document 20-2 Filed 02/24/16 Page 22 of 44 Page |D #:247
Case 8:15-Cv-00550-JLS-RNB Document 24-3 Filed 09/18/15 Page 3 of 5 Page |D #;166

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'KBM project to the NG7 project During this call, Ms. Greene and 1 were in
lrvine, California. Upon information and belief, Plaintiff was in Pennsylvania

l Pursuant to 28 U.S,C. § 1746, 1 declare under penalty of perjury that the

%r/r./%V

Steve Puckett

 

|. foregoing is true and correct

 

.Dated: M¢C§ 7 /F; 252/§-

 

 

 

 

CV~8'.15-CV-00550~.1LS~RNB 3 DECLARATION OF STEVE PUCKETI"

 

 

 

 

 

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Z)ase 8:15~cv-00550-JLS-RNB Document 24-3 Filed 09/18/15 Page 4 of 5 Page |D #:167

CERTIFICATE OF SERVICE
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CASE NAME: TRACI WOLBERT vs. QUALITY SYSTEMS, INC., ET AL.
CASE NUMBER: CV~8:15-cv-00550-JLS-RNB

1 am employed in the County of ORANGE, State of California. 1 am over the age
of 18 and not a party to the within action; my business address is 5000 Birch Street, Suite
5000, Newport Beach, CA 92660.

On September 18, 2015, 1 served following document(s) described as:
DECLARATION OF STEVE PUCKETT

on the parties in this action listed below in the manner designated below:

PLEASE SEE ATTACHED SERVICE LIST

BY NOTICE OF ELECTRONIC FILING. The above-listed counsel have
consented to electronic service and have been automatically served by the Notice of
Electronic Filing, which is automatically generated by CM/ECF at the time said
document was filed, and which constitutes service pursuant to FRCP 5(b)(2)(D).

FEDERAL 1 declare under penalty of perjury under the laws of the State of
California and the United States that the foregoing is true and correct, and that 1 am
employed in the office of a member of the bar of this Court at whose direction the service
was made.

Executed on September 18, 2015 , at Newport Beach, California.

/s/ Lz'sa Uyesugi
Lisa Uyesugi

 

 

 

CV-SI 1 S~CV-00550-JLS-RNB 4 DECLARATION OF STEVE PUCKETT

 

 

 

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SERVICE LIST

 

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CV-8:15-cv-00550~JLS-RNB

DECLARATION OF STEVE PUCKETT

 

 

 

 

 

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EXhibit 4

 

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February 17, 2015
Page 12 of 51

HI. SCOPE AND METHODS USED
A. Fo cus

At the time of its cngagement, WagenerLaw was given the assignment and
general scope of the investigation: To investigate Ms. Wolbert’s sexual harassment and
retaliation concerns contained` m her Memo to theBcard Ms. Wolbert provided Mx.
Wagene1 at the outset of her first interview a written statement outlining her concerns
(“Ms Wolbeit’ s Written Statement") 38 111 that document, Ms Wolbert also raises othei
concerns, some from sevei al years ago, relating to Kelly Sl<een Mi. Eggena, Andi'ew
Seymonr, and Steve Wii‘i`nrrnson. 'I‘nose issues were exc‘roded from the investigation

soope..

0111' assignment was to identify issues and to make findings of fact. We were not
requested to make any conclusions as to whether anyone at the Company violated
Company policy ortho law. This Investigation report includes a summary effectual
findings and conclusions only and should not he mterpi oted as pioviding any opinion as
to whether any Company policy or the law was violated

B. Determination of Issues and Evidential‘y Stnndard

Wagenei' Law independently determined thepotential issues. This was
accomplished thiough conducting witness interviews and reviewing various documents
the lnvestigatoi obtained dining the investigation including the Merno to the Board and
Ms Wolbert’s ertten Statement,

Where the evidence was cii'oumstantial, the Investigators applied a preponderance
of the evidence standard to reach the conclusions in this report (i,e., whether the evidence
“more likely than not" supports the iinding). This is the industry standard for workplace
investigations; itis also same standard thatis applied in most civil oases,

C. Identiiieation cf Witnesses, Content of Intel'vicws and Collectton of
Documents

Wagener Law operated with independence during the Investigation. We
determined witness identification interview content identification of documents to
collect and review, and preparation of factual iindings and conclusions We interviewed
the following witnesses on the dates llsted. All dates are 2014, and unless otherwise

stated wore conducted in per.son3

 

l. Alioia Carden December 14 (’I".D.) ,
2. Ben Mehling- November 20 (via Sl<ype) (M.W,) ;

38 A copy ost. Wolbert’s Written Stateinent is attached as Exhibit 22.

39 Inte1views conducted by Mr. Wagener are indicated with “M.W." and those conducted
by Ms. Dcnnis are indicated with “”[‘.D."

 

 

 

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Pebi“uary l7, 2015
Page 13 of 51
3. Bob Barlcer November 13 (T.D.)
4. Bryan Ga.j Deeernber 3 (T,D,)
5. Celeste McIver December 15 (by phone) (T.D.)
6. Dawn Sowash chcmbe1'14 (T‘D,)
7. Donna Green November 13 and 20; December 15; December 22 (phone)

(M-W.)
8, Dottie Pinnick Decernber 2 (Sl<ype) ('I‘.D.)
9. iudy Taylor December 15 (M.W.)
lO. Julie Balcer November 20 (M.W.)
li. Laura Anderson November 13 and 14; Decernber 17 (phone) (T.D.)
12. Maria Luoni Decemher 22 (by phone) (M.W,)
13, Milce Lovett November 13 (T.D.)
141 RcbertMurry November 13 (T.~D,)
i$. Russ Hill November 13 ('I‘.D.)
16. Steve Puckett December 2 and 18; Decembe1'8 (phcne) and 23 (Skype)
17 . Tim ngena December 3 (Wel)Bx) (T.D.)
l8. Traci Wclbert November 6;Decembe1'22 (Skype) (M.W,)

 

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EXhibit 5

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Andrew D. La Fiura (Pennsylvania SBN. 307891)
JACKSON LEWIS P.C.

Three Parkwa v

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Philadel ina Penns ivania 19102-1317

Tel: 2 7 §19-78 2

Fax: 215 399~2249 _ _

E~rnai : andrew.iaiiura@]acksonlew1s.corn

Jared L. Bryan (SBN. 220925§

Vandana Ka ur SBN. 28177 )

JACKSON E IS P.C.

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Newport Beach, California 92660

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Einaii: Jared.Brvan@iac_ksoniewis.corn
vandana.kaour@1acksoniewis.corn

Attorne s for Defendants
UAL Y SYSTEMS, INC. and NEXTGEN HEALTHCARE INFORMATIGN

S STEMS, LLC

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DlVISION
TRACI WOLBERT, CASE N(). CV-8:15-cV-00550~JLS-RNB
Plaintiff, Assigned to the Hon. Josephine L. Staton,
ourtroorn 10A ; Magistrate Judge Robert
Vs. N. Biock, Courtroorn 6D]

UALITY SYSTEMS, INC, NEXTGEN DECLARATION OF JANE KURCON
EALTHCARE INF ORMATION
SYSTEMS, and DOES 1 through 10, [Fl`led concurrently with Notice ofMotz'on
INCLUSIVE, and Motz`on, Memorandum ofPoznts and

Authorz`tz'es in Support, Declarations in
Support, and [Proposed] Order]

Date: October 23, 2015
Time: 2:30 p.rn.
Courtroorn: 10A

Cornplaint Fiied: April 8, 2015
FAC Filed: May 4, 2015

l, lane Kurcon, being duly sworn, states as follows:

Defendants.

 

1. I am currently employed by Defendant NextGen Healthcare Information

Systems, LLC (“NextGen”) as a human resources representative

 

 

 

CV-S: l 5-CV~O()550-JLS-RNB l DECLARATION OF JANE KURCON

 

 

 

Case 8:16-cV-00009-DF|\/| Document 20-2_ Filed 02/24/16 Page 30 of 44 Page |D #:255 . l
lase 8:15-cv-00550-JLS-RNB Document 24-4 Filed 09/18/15 Page 2 of 5 Page |D #:170

2. In that role, I have access to Defendant NextGen’s personnel records and
2 review them in the regular course of business
3 3. In connection With Defendants’ Motion to Change Venue, 1 Was asked to
4 obtain the states of residence of several current and former employees of Defendant QSI
5 and Defendant NeXtGen.
6 4. I obtained the states of residence by reviewing the personnel records for the
7 requested employees Those records reflect the following:
8

a. Laura Anderson is a current employee and Pennsylvania resident.

\o
57

Russ Hill is a current employee and Pennsylvania resident.

DaWn Sowash is a current employee and Pennsylvania resident

P- 9

Diane Spengel is a former employee and Pennsylvania resident.
Alicia Carden is a current employee and North Carolina resident
Dr. Robert Murry is current employee and New Jersey resident

Ben Mehling, is a former employee and California resident

y_¢\
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P"QQ!'*>.@

Donna Greene is a current employee and California resident

16 5. Approximately 550 people Work out of Defendant NeXtGen’s Horsham, PA
17 facility, all of Whom are employees of either Defendant NeXtGen or its parent, Defendant
18 Quality Systems, Inc.

19 6. l am familiar With a former employee of Defendant NeXtGen named Traci

20 Wolbert.

7. As a former employee of Defendant NeXtGen, Ms. Wolbert’s personnel

22 records are located in Defendant NeXtGen’s Horsham office

///
24 ///
25 ///
26 ///
27 ///
28 ///

 

 

CV~S: lS“cV-OO$SO~JLS"RNB 2 DECLARATION OF JANE KURCON

 

 

 

 

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OO\]O\Ul-D~\JJ[\)*-‘O\OOO\]C\L/?-BWN'~‘O

Pursuant to 28 U.S.C. § 1746, l declare under penalty of perjury that the

foregoing is true and correct,

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Ja[i/e Kurcon

 

 

ar a /\S'

 

, Dated: '§:Y“/€"?/

 

CV-S:l 5~cV-00550-JLS~RNB 3 DECLARATION OF JANE KURCON v

 

 

 

 

 

 

 

 

 

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CERTIFICATE OF SERVICE 4
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT ()F CALIFORNIA n
CASE NAl\/IE: TRACI WOLBERT vs. QUALITY SYSTEMS, INC., ET AL.
CASE NUMBER: CV-8:15-cv~00550-JLS-RNB

1 am employed in the County of ORANGE, State of California. 1 am over the age
of 18 and not a party to the Within action; my business address is 5000 Birch Street, Suite y
5000, Newport Beach, CA 92660. -

On September 18, 2015, 1 served following document(s) described as:
DECLARATION OF JANE KURCON

on the parties in this action listed below in the manner designated below:

PLEASE SEE ATTACHE]) SERVICE LIST

BY NOTICE OF ELECTRONIC FILING. The above-listed counsel have
consented to electronic service and have been automatically served by the Notice of
Electronic Filing, which is automatically generated by Cl\/I/ECF at the time said
document was filed, and which constitutes service pursuant to FRCP 5(b)(2)(D).

FEDERAL 1 declare under penalty of perjury under the laws of the State of
California and the United States that the foregoing is true and correct, and that 1 am
employed in the office of a member of the bar of this Court at whose direction the service
was made.

Executed on September 18, 2015, at Newport Beach, California.

/S/Lisa Uyesugz'
Lisa Uyesugi

 

 

 

 

CV~S: l 5-CV-005 SO~JLS-RNB 4 DECLARATION OF JANE KURCON

 

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CV-8315~cv-00550-.1LS-RNB

DECLARATION OF JANE KURCON

 

 

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Exhibit 6

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA- S()UTHERN DIVISI()N

TRACI WOLBERT, ) CASE NO. CV-S: 15-cv~005 5 O-JLS-
v v ) RNB
Plamtiff, )
VS ) [Assigned to the Hon. Josephine L.

' ) Staton, Courtroom 10A; Magistrate
QUALITY SYSTEMS’ INC` ) Judg€ RObel't N. BlOCl<, COurtrOOm
NEXTGEN HEALTHCARE ) 6D]
rNFoRMATIoN sYs'rEMs, and )
boss 1 through 10,1NcLUsrvE, §

Dei`endants. )

 

AFFIDAYIT OF BE!§ MEHL!EG

1, M. Benjamin Mehling, being duly sworn do depose and say as fcllows:

1 was previously employed as Vice President of Research & Developrnent for Quality
Systerns, Inc. (“QSI”).

In that role, I oversaw the development of the Company’s NG7 project and reported
directly to Steve Puckett, Chief Technology Off'lcer.

I first met Traci Wolbert in January 2014. At the time, her title was Director of Clinical
Program Management and she reported to Steve Puckett.

1n January 2014, Ms. Wolbert was asked to split her time between overseeing the product
enhancements and maintenance of the Knowledge Base Mcdule (“KBM”) module within
the existing NextGen Alnbulatory application and assisting me in the development of the
NG7 project

With respect to NG7 specifically, Ms. Wolbert was responsible for providing clinical
product leadership. In short, this meant that Ms. Wolbert was in charge of defining the
product’s ultimate functionality, user interface, and appearance from a clinical standpoint

During the January~October 2014 time frame, 1 developed some concerns about Ms.
Wolbert’s leadership and management style. These concerns were based on my personal
observation as well as my conversations with subordinates and colleagues

 

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7. 1n late 2013 and early 2014, NextGen was in the midst of selecting a clinical content
provider for all divisions and Ms. Wolbert was the primary owner of this initiative Given
her responsibilities over the clinical applications, 1 focused on the technical architecture
and necessary due diligence For a period of several months she was unwilling to work
with the architectural resources on my team or directly connect those resources with the
content provider to complete the necessary knowledge transfer. Ultimately the technical
team integrated the content without the necessary knowledge which created two large,
but avoidable technical issues during Alpha testing

8. 1 also developed concerns about NG7’s user interface design, which Was within Ms.
Wolbeit’s area of responsibility She was creating a novel user interface that was a major
departure from how physicians interact with systems similar to the one we were buildingl
Creating new and novel designs can be innovative, but standard best practice dictates that
the design team run a series of usability tests with likely end-users to validate the new
design. 1 had multiple discussions with Ms. Wolbert about the risk associated with her
design and she assured me that the team would be validating the design prior to costly
software development beginning

9. ' ln October 2014, Ms. Wolbert was officially moved under my direct supervision and
instructed to spend all of her time working on the NG7 project

10. 1 learned of the restructuring directly from Ms. Wolbert, who informed me that she was
moving onto my team because her KBM team had expressed concerns about her
leadership Ms. Wolbert informed me that a collective decision had been made among
herself, Mr, Puckett, and Donna Green that her talents would be better served by Working
solely on NG7.

ll. 1 have no first-hand knowledge as to whether this restructuring had any impact on
Wolbert’s overall compensation

12. Pn'or to the restructuring, 1 had no knowledge of Ms. Wolbert making any complaints
about Mr, Puckett or any other employees of QSI or NextGen.

13. Upon officially joining my team, Ms. Wolbert was informed on multiple occasions by Mr,
Puckett and myself that she could build her own team to assist her on the NG7 project
For reasons that are unclear to me, Ms. Wolbert never took steps to build and propose a
staffing plan for her own team. As a result, 1 negotiated a temporary solution _
approximately 6 employees were lent to her from another department

14. At the time, the Vice President over these employees, Chn'stie Guthrie, expressed concern
to me about Ms. Wolbert, Specifically, Ms. Guthrie told me she thought Ms. Wolbert’s
management style would drive these employees to resign. As a result, we jointly agreed
to leave the employees reporting to their current manager, Leslie Cobb, and to use Ms.
Cobb as a liaison between Ms. Wolbert and these employees for reporting purposes

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15. As a full-time member cf my team, Ms. Wolbert’s main tasks in connection with NG'/
remained essentially same That is, she was expected to (a) select a viable clinical
content provider; (b) design an effective user experience; and (c) create the application
requirements which ultimately define the functionality of the software She failed in all
three

16 . With respect to task (a), 1 expected Ms. Wolbert had performed a thorough analysis of the
available clinical content providers and obtained feedback from qualified clinicians
(NextGen employees and likely future users/customers) as to which provider to
ultimately choose

l7. Ms. Wolbert initially chose a content provider with minimal consultation from NextGen
clinicians. 1 subsequently learned during a two day internal summit on clinical content in
November 2014 that our clinician`s did not agree that the content provider selected by Ms.
Wolbert was viable or safe for use in the market During the meeting, it became clear that
Ms. Wolbert did not sufficiently vet her choice with any of the clinieians on staff, lt also
became clear that, had Ms. Wolbert fulfilled her responsibility to perform due diligence
during the content provider selection initiative, it would have been obvious tc Ms.
Wolbert that her chosen clinical provider was not trusted by our own clinicians.

18. At this point, substantial time and resources (apprcximately one third or more of the
entire team had worked to integrate the clinical content over a nine to twelve month
period) had already been devoted to developing the program with Ms. Wolbert’s chosen
content provider. Based on my meeting with the clinicians, however, we were forced to
redo all aspects of this integration (ccmplete removal and replacement) to ensure that the
proper clinical provider was integrated prior to the prcject’s roll out

19. With respect to task (b), Ms. Wolbert Was expected to develop the actual NG7 interface
that users would need to navigate in order to properly use the program.

20. While Ms. Wolbert had some novel ideas regarding the interface, 1 consistently stressed
tc her the need to have the concepts validated using industry and usability science best
practices (which includes testing with potential users).

21. 1 subsequently learned that Ms. Wolbert did not validate the user experience

22. As a result, during NG7’s alpha-testing phase in mid-September 2014, we learned for the
first time that NG'/ had huge design problems This was far too late in the development
process, and similar to the content engine, required significant rework to the software
thus negatively impacting budget and timeline.

23. With respect to task (c), Ms. Wolbert Was expected to create the application requirements
for the NG7 project This is the core responsibility of product management and required

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Ms. Wolbert and her team to essentially write the technical requirements for the system,
which would then need to be implemented by our software developers

24. Ms. Wolbert’s work here was again subpar. Essentially, Ms. Wolbert and her team
recycled technical requirements from the.older version of the system and passed it along
to the developers The developers, in turn, could not make sense of` the requirements
because they did not match up with the context, workflow, and architecture ofNG7.

25. Throughout the development of NG7, 1 received consistent negative feedback from the
software developers about the requirements they were receiving from Ms. Wolbert, 1 had
multiple discussions with Ms. Wolbert and her team about this negative feedback

26. Each time, Ms. Wolbert acknowledged the problems stating that the copied requirements
were “placeholders” that her team would be returning to and fixing She assured me that
the issue would be resolved rapidly. The issues were not resolved, and we essentially
needed to start the requirements process from scratch, creating more costly delays and
schedule slips.

27. 1n the first week of .1 anuaiy 2015, a three day review of the NG7 project was conducted
in Austin, Texas. The review was overseen by Mr. Puckett, Michael Lovett (Executive
Vice President and General Maiiager of NextGen Ambulatoiy’s division) and Gary
Voydanoff (Executive Vice President of Sales and Marketing). NG'/ received a lukewarm
reception Mr. Lovett pointed out that the delays due to the content partner issue was a
“huge miss” - a completely accurate assessment The silence in the room following the
commentary from a senior leader was palpable.

28. 'On January 8, 2015, 1 met with my team and Mr. Puckett to discuss some of the issues
that arose during the review. In particular, the review highlighted the lack of clinical
product leadership and the lack of clinical user interface validation in the project Both of
these areas fell squarely within Ms. Wolbert’s area of responsibility

29. During this subsequent meeting, several of my leadership team volunteered that NG7’s
biggest barriers to success Were related to the clinical components - the components that
fell under the responsibility of Ms. Wolbert, When we listed and prioritized actions we
needed to take to bring the program back onto a successful path, the attendees
unanimously agreed the number one issue facing the program was Clinical Product and
Design Leadership. The implication was clear -~ a clinical and design leadership change
was what the team (including 1) believed was the highest priority and our only chance of
success.

30. To my knowledge, no one in the January 8, 2015 meeting, with the exception of myself
and Mr. Puckett, had any knowledge that Ms. Wolbert had issued any complaints about
Mr. Puckett, Donna Green, cr anyone else at QSI or NextGen.

 

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31. Based on this meeting, and in light of the ongoing problems 1 had witnessed with Ms.
Wolbert’s work performance 1 requested permission to terminate Ms. Wolbert’s
employment

32. 1 was given permission and, on January 30, 2015, 1 terminated Ms. Wolbert’S
employment Julie Baker nom the human resources department was in attendancel

33. My decision to request permission to terminate Ms. Wolbert’s employment had nothing to
do with any complaints Ms. Wolbert may have made about Mr. Puckett, Ms. Green, or
anyone else at QSI or NextGen.

34. My decision was based purely on legitimate performance and business reasons and in an
effoit to save the NG7 project.

1 declare, under penalty ofperjury, that the foregoing is true and correct.

/i/i- 77*““1\"“~ //("M"r-

. M‘.(l§enj amiii.¢ii¢lehling
DATED: 7/27/2015

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EXhibit 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 8:16-cv-00009-DF|\/| Document 20-2 Filed 02/24/16 Page 41 of 44 Page |D #:266
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Pending Cases 1,843 1,177 760 519 515 391 62 5
Weighted Filings 2 375 420 403 411 407 393 55 4
Terminations 3,118 2,800 2,116 760 554 606 19 1
Tria|s Completed 20 15 15 17 12 13 69 5
, _ Criminal
Median FFQm mfer 10 Fe|ony 13.7 13.7 15.7 14.9 16.1 14.5 82 5
_ Dlspos\tlon
Tlme Civi| 2 8.0 3.1 1.5 15.1 4.0 5.5 6 1
(M°""‘S) From ang to Trial 2
(Civil Only) 20.8 20.2 20.0 19.2 21.6 24.5 27 1
Number (and %)
of Civil Cases 8,195 5,965 3,720 786 2,269 1,331
Over 3 Years Old 2 21 .1 24.6 24.7 8.0 23.0 18.6 87 5
Average Number
of Felony Defendants ,
ther Fiied per case 1.5 1.5 1.4 1.4 1.3 1.4
Avg. Present for
Jury Selection 70.8 74.5 55.2 80.3 76.8 61 .3
Jurors
Percent Not Se|ected
or Chal|enged 37.0 37.6 23.3 37.6 42.1 30.2
2015 Civi| Case and Criminal Fe|ony Defendant Filings by Nature of Suit and Offense
Type of Tota| A B C D E F G H l J K L
Civil 9,473 448 2,538 1,221 6 88 443 886 891 302 1,506 54 1,090
Crimina| ‘ 723 2 194 54 90 180 59 50 10 22 14 9 39

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NOTE: Crimina| data in this profile count defendants rather than Cases and therefore will not match previously published numbers

1 Fi|ings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.

2 See “Exp|anation of Selected Terms."

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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U.S. District Court - Judicial Caseload Profile
CAL|FORN|A CENTRAL 12-Month Periods Ending
Jun 30 Jun 30 Jun 30 Jun 30 Jun 30 Jun 30 N _ l
2010 2011 2012 2013 2014 2015 “me'.'°a
Standing
Filings ‘ 16,986 17,690 18,232 17,464 16,952 16.275 Within
Overa" terminations 17,026 17,359 18,232 17,990 17,015 16,913 l u.s. l circuit l
Caseload pending 13,745 13,996 13,930 13,384 13,243 12,453
Statlstlcs Percent Charige in Total
Filings Current Year
Over Earlier Year ~4.2 -8.0 -10.7 -6.8 ~4.0 j 55 j 5 j
Number of Judgeships 28 28 28 28 28 28
Vacant Judgeship l\/|onths 2 35.7 21 .3 25.9 9.4 3.6 11.6
Total 607 632 651 624 605 581 24 4
Civil 494 533 557 533 521 511 12 2
_ _ Criminal
F"'“QS Feiony 72 70 67 60 51 38 83 14
Actions Supervised
per Re|ease
Judgeship Hearings 41 29 27 30 33 32 43 11
Pending Cases 491 500 498 478 473 445 51 7
Weighted Filings 2 609 639 668 667 669 655 11 2
Terminations 608 620 651 643 608 604 21 4
Trials Comp|eted 13 13 13 14 14 14 62 8
1 _ Crimina|
Median FiO_m F"!UQ 10 Feiony 10.8 11.0 10.4 10.8 13.5 14.2 50 13
_ Disposition
Tlme Civil 2 5.6 5.7 5.3 5.6 5.6 545 6 1
(M°nths) From Filing to Trial 2
(Civil Only) 20.4 19.3 19.5 19.3 21 .3 19.8 9 2
Number (and %)
of Civil Cases 852 754 593 787 612 573
Over 3 Years Old 2 8.3 7.1 5.5 7.6 5.9 5.8 46 4
Average Number
of Felony Defendants
the" Fiied per case 1.5 1.7 1.5 1.6 1.7 1.6
Avg. Present for
Jurors Jury Se|ection 62.2 50.9 50.9 44.8 39.3 41.8
Percent Not Selected
or Challenged 59.9 50.0 48.7 44.8 41 .2 41 .0
2015 Civil Case and Criminal Fe|ony Defendant Filings by Nature of Suit and Offense
Type of Toiai A a c D E F o H i J i< i_
Civil 14,320 1,046 380 2,131 95 1,111 876 1,599 684 1,398 2,591 14 2,395
Crimina| ‘ 1,050 10 343 143 48 231 33 54 19 51 19 25 74

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.

‘ Filings in the "Overa|| Case|oad Statistics" section include criminal transfers, while filings by "Nature of Offense“ do not.

2 See "Explanation of Selected Terms."

 

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EXplanation of Selected Terms

Number of Judgeships
The number of appeals and district court judgeships reflects the number of authorized federal judgeships
approved by Congress.

Vacant Judgeship Months

Vacant judgeship months are the total number of months that vacancies occurred in any judgeship position
in a circuit or district On September 30, 20l4, a total of 50 vacancies existed in the district courts, and 6
vacancies existed in the U.S. courts of appeals (excluding the U.S. Court of Appeals for the Federal Circuit).

Court profiles for both the courts of appeals and district courts reflect only caseloads forjudges within the
circuit/district; the profiles do not address judges’ activity when visiting other circuits/districts Detailed
data on visiting judges can be found in Tables V-l and V-2 of Judicial Business ofthe United Stares Courts.

Applications for Interlocutory Appeals

ln 2012, this category was expanded to include applications for permission to appeal under 28 U.S.C. §
l292(b); appeals from district courts' orders granting or denying motions to remand class actions to the state
courts under 28 U.S.C. § 1453(0); applications for permission to file direct appeals from bankruptcy court
orders under 28 U.S.C. § l58(d); appeals from orders granting or denying class action certification under
Fed. R. Civ. P. 23(f); and various miscellaneous proceedings

Supervised Release Hearings

Beginning with 2002 Fedeml Court Manageiiient Stati`sfics, data on hearings on violations of conditions of
supervision are included in the district court profiles. These hearings, Which are conducted when defendants
violate the terms of supervised release or probation, can result in the modification of conditions or the
revocation of supervision In addition to providing data for the category of supervised release hearings filed
per authorized judgeship, data on these hearings are included in the totals for overall filings and
terminations, filings and terminations per authorized judgeship, and weighted filings per authorized
judgeship. These changes to the district court profiles Were approved by the Judicial Conference
Subcommittee on Judicial Statistics.

Weighted Filings

Weighted filings statistics account for the different amounts of time district judges require to resolve various
types of civil and criminal actions The Federal Judiciary has employed techniques for assigning weights to
cases since 1946. ln 2004, the Judicial Resources Committee of the Judicial Conference of the United States
approved a civil and criminal case weighting system proposed by the Federal Judicial Center. On a national
basis, weighted filings did not change significantly after the implementation of the new case weights More
than two-thirds of all district courts saw their weighted filings change by l0 percent or less. Average civil
cases or criminal defendants each receive a weight of approximately l.0; for more time-consuming cases,
higher weights are assessed (e.g., a death-penalty habeas corpus case is assigned a Weight of l2.89); and
cases demanding relatively little time from judges receive lower weights (e.g., an overpayment and recovery
cost case involving a defaulted student loan is assigned a weight of O.lO).

For comparative analysis in this report, the totals for weighted civil and criminal filings for prior years have
been revised based on the new case Weighting system. The weighted totals for criminal defendants include
transfers but exclude reopenings. Data on civil cases arising by reopening, remand, and transfer to the

 

 

 

 

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district by order of the Judicial Panel on i\/Iultidistrict Litigation are not included among the totals for
weighted filings.

Median Times

The median times are based on the amount of time elapsed from the date a case was filed to the date of its
disposition for the middle case in a series containing an odd number, or the number midway between the
two middle cases in a series containing an even number, when the cases are arrayed from least to the most
time elapsed.

o Criminal Felony
For criminal felony defendants, median time intervals are calculated using the period from the
proceeding date for a defendant (e.g., the date an indictment or information was filed) to the date on
which the defendant Was found not guilty or was sentencedl Prior to Mai'ch 2012, the median time
interval was computed beginning with the defendant’s filing date. Therefore, data for March 2012
and thereafter are not comparable to data for previous periods.

0 Civil
For civil cases, median time intervals are calculated using the period from the date a case was filed to
the date of its disposition Median times from filing to disposition reflect all terminated civil cases,
regardless of whether they were disposed of by trial or some other method. Civil median times
exclude data for civil cases involving land condemnation, prisoner petitions, deportation reviews,
recovery of overpayments, and enforcements of judgmentsl Because courts can quickly process cases
involving the recovery of overpayments (which primarily address veterans’ benefits) and
enforcements of judgments (which primarily address student loans), including data on these cases
would shorten the civil median times for some courts to the point of giving an inaccurate impression
of the time usually required to process a case in the federal courts.

0 From Filing to Trial (Civil Only)
For civil cases, median times from filing to trial are computed using the period from the date a case
was filed to the date trial began. For any reopened civil case resulting in a second completed trial, the
median time is based on the case’s original filing date and the date the trial was completed.

Civil Cases Over Three Years Old

Data for cases pending more than three years may not match those presented in the Civil Justice Reform Act
(CJRA) reports because the profiles presented herein include data for cases on appeal in other courts (i.e.,
the Supreme Court, courts of appeals, other district courts, and state courts), whereas the CJRA reporting
guidelines exclude such data.

Civil and Criminal Felony Filings by Nature of Suit and Offense

Prior to 2005 , alphabetical codes corresponded to different offenses and natures of suit. Therefore, data for
2005 and thereafter are not comparable to data for earlier yeai's. Beginning in March 2012, criminal data
count defendants rather than cases and will not match previously published numbers

 

 

 

